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                   16
                                                   UNITED STATES DISTRICT COURT
                   17

                   18                           NORTHERN DISTRICT OF CALIFORNIA

                   19                                   SAN FRANCISCO DIVISION

                   20   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   21      Individual and Representative Plaintiffs,    DEFENDANT’S ADMINISTRATIVE MOTION
                                                                        TO FILE UNDER SEAL OPPOSITION TO
                   22          v.                                       MOTION FOR LEAVE TO FILE THIRD
                                                                        AMENDED CONSOLIDATED COMPLAINT
                   23   META PLATFORMS, INC., a Delaware                AND SUPPORTING EVIDENCE
                        corporation;
                   24
                                                        Defendant.
                   25

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COOLEY LLP
ATTORNEYS AT LAW
                                                                                 DEFENDANT’S ADMIN. MOTION TO SEAL
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                    1          Pursuant to Civil Local Rule 79-5, Defendant Meta Platforms, Inc. (“Meta”) respectfully

                    2   moves this Court for an Order allowing Meta to file under seal portions of its Opposition to

                    3   Plaintiffs’ Motion for Leave to File Third Amended Consolidated Complaint (“Opposition”) and

                    4   supporting evidence. Meta respectfully submits that good cause exists for the filing of these

                    5   documents under seal.    The motion is based on the following Memorandum of Points and

                    6   Authorities and the Declaration of Kyanna Sabanoglu in support of this Administrative Motion to

                    7   File Under Seal.

                    8
                               Meta requests to seal the following documents in order to protect its confidential business
                    9
                        information:
                   10
                         Document                                                              Sealing Request
                   11

                   12    Opposition                                                      Redacted portions

                   13    Declaration of Kathleen Hartnett In Support of                  Redacted Portions
                         Opposition (“Hartnett Declaration”)
                   14
                         Exhibit A to Hartnett Declaration                               Entire document
                   15
                         Exhibit B To Hartnett Declaration                               Entire document
                   16
                         Exhibit C to Hartnett Declaration                               Entire document
                   17
                         Exhibit D to Hartnett Declaration                               Entire document
                   18
                         Exhibit E to Hartnett Declaration                               Entire document
                   19
                         Exhibit F to Hartnett Declaration                               Entire document
                   20
                         Exhibit G to Hartnett Declaration                               Entire document
                   21
                         Exhibit H to Hartnett Declaration                               Entire document
                   22

                   23   I.     LEGAL ARGUMENT

                   24          Though the presumption of public access to judicial proceedings and records is strong, it

                   25   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit

                   26   treats documents “attached to dispositive motions differently from records [i.e., documents]

                   27   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180

                   28   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
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                    1   non-dispositive motions, such as Plaintiffs’ Motion to Amend Case Management Schedule (Dkt.

                    2   193), the “good cause” standard applies.              OpenTV v. Apple, No. 14-cv-01622-HSG,

                    3   2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015); Kamakana, 447 F.3d at 1180 (“A ‘good

                    4   cause’ showing will suffice to seal documents produced in discovery.”). The Federal Rules afford

                    5   district courts “flexibility in balancing and protecting the interests of private parties.” Kamakana,

                    6   447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-05330-HSG, 2020 WL 210318, at *8

                    7   (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963 (Fed. Cir. 2021) (finding good cause to seal

                    8   “confidential business and proprietary information”).

                    9          The exhibits to the Hartnett Declaration consist of Meta’s highly confidential internal

                   10   documents and deposition testimony by Meta’s employees concerning Meta’s processes in

                   11   developing its generative AI offerings, all of which have been designated “Highly Confidential –

                   12   Attorneys’ Eyes Only” under the Stipulated Protective Order (Dkt. 90). Many of these documents

                   13   contain detailed technical information and trade secret information, including regarding Meta’s use

                   14   and processing of datasets to train its Llama models.

                   15          The portions of the Hartnett Declaration that Meta seeks to redact describe and quote from

                   16   the exhibits attached to the declaration, as well other documents produced by Meta that have been

                   17   designated “Highly Confidential – Attorneys’ Eyes Only.” The portions of the Opposition that

                   18   Meta seeks to redact similarly reflect, refer to, and discuss the information contained in the highly

                   19   confidential exhibits to the Hartnett Declaration, as well as the exhibits to the Declaration of Joshua

                   20   M. Stein (“Stein Declaration”), filed with Plaintiffs’ Motion for Leave, and which Meta has

                   21   separately sought to be sealed (Dkt. 310).

                   22          As this information is highly confidential, Meta must request sealing of the documents and

                   23   redaction portions listed above. Meta takes steps to carefully protect the confidentiality of

                   24   information of this sort because the disclosure of such information has the potential to cause

                   25   significant competitive injury to Meta. See, e.g., Space Data Corp. v. Alphabet Inc., No. 16-CV-

                   26   03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding

                   27   party’s confidential and proprietary technical information sealable). To the extent the materials

                   28   Meta seeks to seal include non-confidential background information, sealing of such information
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                    1   within the context of Meta’s Opposition and proposed amended complaint is necessary to maintain

                    2   the confidentiality of Meta’s protected information, as the discussion necessarily implies conduct

                    3   by Meta which is highly sensitive, non-public, and which Meta has taken steps to keep confidential.

                    4   Accordingly, this sealing request is critical to protecting Meta’s confidential sensitive technical and

                    5   competitive information.

                    6          The specific basis for sealing these materials is outlined in the accompanying declaration

                    7   of Meta’s Associate General Counsel, IP Litigation, Kyanna Sabanoglu. As outlined in Ms.

                    8   Sabanoglu’s declaration, disclosure of the protected information contained in these materials would

                    9   work competitive harm to Meta if this information is publicly disclosed. The Parties’ sealing

                   10   requests and proposed redactions are narrowly tailored to include only that information which

                   11   would cause specific, articulable harm, as identified in Ms. Sabanoglu’s declaration. In each

                   12   instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone

                   13   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting

                   14   motion to seal where the defendant’s interest in “maintaining the confidentiality of information

                   15   about its technology and internal business operations” outweighed that of the public in accessing

                   16   such documents).

                   17   II.    CONCLUSION
                   18          For the foregoing reasons, Meta respectfully requests that the Court grant Meta’s

                   19   Administrative Motion to Seal.

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                    1   Dated: December 11, 2024                             COOLEY LLP

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